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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                                                                                FILED
                          MISSOULA DIVISION                                     JAN O9 2020
                                                                            Clerk, U.S. District Court
                                                                              District Of Montana
                                                                                    Mi~soula


 UNITED STATES OF AMERICA,
                                                    CR 19-49-M-DLC
                       Plaintiff,

        vs.                                          ORDER

 KRISTAL PATRICIA LEONARD and
 JOHN MURRAY BARRY,

                       Defendants.

      Before the Court is Defendant Kristal Patricia Leonard's Motion in Limine

seeking a pretrial ruling on Leonard's request to present a duress defense at trial

and to receive a jury instruction on duress. (Doc. 47.) It also appears that Leonard

requests a separate hearing on this motion. (See Doc. 47-1.) It is not clear whether

the Government opposes this motion. Accordingly, Leonard's Motion will be

denied without prejudice for failure to comply with Local Rules 7.1 (c )(1 ),

7.l(c)(2), 7.l(c)(3)(B), and 7.l(d)(l)(A).

      IT IS ORDERED that Leonard's Motion (Doc. 47) is DENIED without

prejudice.




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             -kt                       '
DATED this 9.__day of January, 2020.




                                           Dana L. Christensen, Chief Judge
                                           United States District Court




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